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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


                                     :
 UNITED STATES of AMERICA                        O R D E R
                                     :

       v.                            :          Case No.     9cr369-2(DMC)

 YOLANDA JAUREGUI                    :




       This matter having come before the Court on a Report and

 Recommendation of Honorable Mark Falk, United States Magistrate

 Judge, to accept the guilty plea of the defendant to count 1S,

 2S & 3S of the Superseding Indictment entered by the defendant

 on 17 April 2013; and

       The court having reviewed same; and

       For good cause shown;

       It is on this 29th       day of April 2013      ORDERED that the

 Report and Recommendation of Magistrate Judge Falk entered on

 April 17, 2013 is adopted and the defendant is to be found

 guilty as to count 1S, 2S, & 3S of the superseding Indictment.




                                            s/DENNIS M. CAVANAUGH
                                            DENNIS M. CAVANAUGH, U.S.D.J.
